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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA




 Roger A. Herndon, on behalf of himself and all      Civil Action No.: 4:19-cv-00052-HCM-
 others similarly situated,                          DEM

                      Plaintiff,

             vs.

 Huntington Ingalls Industries, Inc., the HII
 Administrative Committee, and John/Jane Does 1–5,

                      Defendants.                    CLASS ACTION



         PLAINTIFF AND CLASS’S MEMORANDUM IN OPPOSITION TO
      MOTION TO EXCLUDE EXPERT TESTIMONY OF MITCHELL I. SEROTA
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                  I.    Introduction

        This case concerns whether Defendants are paying pension benefits to Huntington Ingalls

 Industries’ (“HII”) retired employees that are less than the actuarial equivalent of a single-life

 annuity (“SLA”). The parties rely on the opinions of actuarial experts to support their positions.

 The competing experts used a common methodology: They compared the benefits that Class

 Members are receiving today, which were calculated using a 6 percent interest rate and a mortality

 table published in 1971 (the “1971 GAM”), with benefits that they would be receiving if their

 benefits were calculated using different actuarial assumptions. Where the experts disagree is on

 the actuarial assumptions that should be used for the comparison — the “inputs” to their models.

        Defendants seek to exclude the testimony of Plaintiff’s expert in its entirety, manufacturing

 a fog of complaints with little substance. The motion should be denied.

                  II.   Factual Background

        This case involves ERISA’s requirement that retirees who select Joint and Survivor

 Annuities (“JSAs”) receive a benefit that is no less than the “actuarial equivalent” of the SLA they

 could have selected instead. As the Court determined in denying Defendants’ Motion to Dismiss,

 “[t]his means that the present values of the benefits received and benefits under a single life annuity

 are ‘equal under a given set of actuarial assumptions’” and the assumptions “must be ‘reasonable.’”

 Order, ECF No. 73, at 3 (quoting Stephens v. U.S. Airways Grp., Inc., 644 F.3d 437, 440 (D.C.

 Cir. 2011) and 26 C.F.R. §§ 1.401(a)-11(b)(2) and 1.411(d)-3(g)(1)). This “battle of the experts”

 concerns the reasonableness of the assumptions that Defendants use.

        Plaintiff’s expert, Mitchell I. Serota (“Serota”), has been a member of the American

 Academy of Actuaries (“AAA”) for forty years, and, since 1983, both an Enrolled Actuary and a

 Fellow of the Society of Actuaries. Serota Am. Decl., Vita. Serota served on the Pension


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 Committee of the AAA’s Actuarial Standards Board when it wrote Actuarial Standards of Practice

 (“ASOPs”) 27 and 35, which address the criteria for selecting actuarial assumptions for pension

 plans, including interest rates and mortality assumptions, which are the subject of this case. Serota

 Am. Decl. at 2. Serota literally helped to write the Actuarial Standards of Practice that apply in

 this case. Serota has run an actuarial consulting business for over 30 years, and has been involved

 in pension design and planning, including the preparation of actuarial valuation reports such as the

 ASC 715-30 (the actuarial report used for Generally Accepted Accounting Principles (“GAAP”)).

 Serota Am. Decl., Vita. Serota has also testified before bankruptcy courts and state courts on

 actuarial issues involving tens of millions of dollars. Id.

        Plaintiff offers Serota’s testimony concerning two primary issues: (a) whether the Plan’s

 actuarial assumptions are reasonable; and (b) whether the benefits calculated using those

 assumptions are lower than they would be if reasonable actuarial assumptions were used. To

 address the first issue, Serota evaluates the reasonableness of the Plan’s mortality table (the 1971

 GAM) based on the standards in ASOP 35 for selecting demographic and mortality assumptions

 when measuring pension liabilities. For the second issue, Serota compares the benefits that Class

 Members have received, and are receiving, to what they would receive if benefits were calculated

 using reasonable assumptions.

        Serota’s opinions were based, in part, on documents and information that Defendants

 provided in discovery. Because fact discovery was ongoing throughout the period when expert

 reports were due, Defendants produced documents both before and after Serota filed his Reports,

 necessitating minor changes to his primary and rebuttal Reports. But, at least by the end of fact

 discovery, Defendants provided information about each Class Member’s benefits (e.g., the amount

 each would have received as an SLA, the amount each is receiving as a JSA), as well as pertinent



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 actuarial and demographic data (e.g., gender, years of service, age when benefits were calculated,

 age of beneficiary when benefits were calculated). Serota constructed a database that allowed him

 to compare Class Members’ benefits calculated under the Plan’s actuarial assumptions (the 1971

 GAM weighted 90 percent male for retirees and 90 percent female for beneficiaries, and a six

 percent interest rate) to what their benefits would be if calculated with different assumptions.

 Defendants’ expert, Thomas Terry, used the exact same methodology. See Declaration of Thomas

 Terry, ECF No. 79-4 (“Terry Decl.”), at ¶¶ 141-45 & 151-52. The difference between Serota and

 Terry’s opinions is the inputs they selected for their models to represent reasonable actuarial

 assumptions.

        Serota uses a mortality table based on the table that the IRS mandates for calculating

 benefits for employees who take pension benefits as a lump-sum payment, which is referred to as

 the “Applicable Mortality Table.” Amended Expert Declaration of Mitchell I. Serota, ECF No.

 79-2 (“Serota Am. Rep.”), at 20–22. The Treasury Department updates the Applicable Mortality

 Table every year (id. at 22) to ensure it is current. Defendants not only use the Applicable

 Mortality Table to calculate lump-sum payments (as they are required by law to do), they also use

 it for the disclosures to participants before they retire concerning the relative actuarial value of

 each of the Plan’s benefit options, including the JSAs at issue in this case. Rebuttal Declaration

 of Mitchell I. Serota, ECF No. 79-8 (“Serota Reb. Rep.”) at ¶ 21.

        Serota modified the Applicable Mortality Table from his initial report to the Amended

 Report in Defendants’ favor. The base Applicable Mortality Table assumes a population is 50

 percent male and 50 percent female. Serota Am. Rep. at 26. However, because the IRS permits

 plan sponsors to modify mortality tables to account for the specific demographics of plan

 participants, Serota used a variation of the Applicable Mortality Table that was weighted 79



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 percent male for retirees and 79 percent female for beneficiaries based on the actual breakdown of

 HII’s retirees, which he found in a study Ernst & Young prepared. Id.

        Serota based his interest rate assumption on the interest rate that HII used each year to

 calculate its Plan liabilities in its annual audited financial reports prepared under GAAP. This

 choice also worked in Defendants’ favor, since the Plan’s interest rate for calculation of actuarial

 equivalence was 6 percent and HII’s GAAP rates ranged from 3.85 percent in 2017 to 5.28 percent

 in 2013. Id. at 26. As Serota testified, the interest rate used for the HII’s GAAP accounting

 represents the plan actuary’s “best estimate” of the most reasonable interest rate to apply to

 determine the present value of the HII’s pension liabilities as of the date of the report. Id. at 24.

 Ernst & Young based its interest rate determination on interest rates for a hypothetical bond

 portfolio, which Ernst & Young compared to bond indices published by Willis Towers Watson,

 Citigroup, Mercer and Milliman to confirm its reasonableness. Serota Reb. Rep. at ¶ 47.

        Serota also prepared a Rebuttal Report that responded to Defendants’ expert, Thomas

 Terry. Serota’s Rebuttal Report also evaluated the effect of using different inputs to the model in

 Serota’s Amended Report that were suggested by certain of Terry’s criticisms. These changed

 inputs included using a blue-collar version of the Applicable Mortality Table beginning when such

 a table was first available (2015), as well as using the Mercer Above Mean AA interest rate (which

 closely tracked HII’s GAAP rate, but determined by a wholly independent party). Serota Reb.

 Rep., at ¶¶ 50–53. While the different inputs changed the results of Serota’s model, they did not

 change the fact that almost all Class Members would have received higher benefits had the Plan

 used up-to-date actuarial assumptions. Id. at 55.

        During his subsequent deposition, Defendants presented Serota with an email from Ernst

 & Young to Defendants’ counsel, dated after Serota had served both his Amended and Rebuttal



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  Reports and which had not been produced in discovery, or even before the middle of the deposition,

  that contradicted the language of Ernst & Young’s study that Serota had relied on for the

  assumption that the Plan’s retiree population was 71 percent male. Video Deposition of Mitchell

  Serota, Ph.D., ECF No. 79-5 (“Serota Tr.”) at 84. Once he had an opportunity to review this new

  information, Serota agreed that a 71/29 male-to-female retiree blend was less appropriate.

  Accordingly, based on this newly provided information, Serota produced a Supplemental Report

  that used an 86/14 male-female retiree blend. Supplemental Report of Mitchell I. Serota, ECF No.

  79-3 (“Serota Supp. Rep.”), at ¶¶ 4–7. Serota’s Supplemental Report provided updated figures for

  each of the calculations in the Amended Report and the Rebuttal Report, using exactly the same

  methodology as before, only substituting an 86/14 blend for the 71/29 blend that he previously

  used.

                   III.   Argument

          A. Legal Standard

          The admissibility of expert testimony is governed by Federal Rule of Evidence 702, which

  requires that the proposed testimony be both relevant and reliable. United States v. Forrest, 429

  F.3d 73, 80 (4th Cir. 2005). Rule 702 was intended to liberalize the practice of introducing relevant

  expert evidence. Westberry v. Gislaved Gummi AB, 178 F.3d 257, 261 (4th Cir. 1999); Smith v.

  Ray, No. 2:08-cv-281, 2015 WL 13855539, at *1 (E.D. Va. Aug. 5, 2015). Accordingly, “‘the

  rejection of expert testimony is the exception rather than the rule.’” Id. (quoting Fed. R. Evid. 702,

  Advisory Comm. Notes to the 2000 Amendments); see also Gillis v. Murphy-Brown, LLC, No.

  7:14-cv-185-BR, 2018 WL 5284607, at *2 (E.D.N.C. Oct. 24, 2018) (“‘[b]asically, the judge is

  supposed to screen the jury from unreliable nonsense opinions, but not exclude opinions merely

  because they are impeachable.’”). Exclusion of expert testimony is particularly rare where, as


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  here, the case will be decided by a judge rather than a jury. See, e.g., Columbia Gas Transmission,

  LLC v. Grove Ave. Developers, Inc., No. 2:17-cv-483, 2018 WL 8334948, at *3 (E.D. Va. May

  10, 2018) (“‘There is less need for the gatekeeper to keep the gate when the gatekeeper is keeping

  the gate only for himself.’”) (quoting United States v. Brown, 415 F.3d 1257, 1269 (11th Cir.

  2005)). The possibility of jury confusion, which is the primary rationale for exclusion of expert

  testimony, is equally absent when the Court is considering a motion for summary judgment.

  Fitzgerald v. Alcorn, No. 5:17-cv-16, 2018 WL 312720, at *4 (W.D. Va. Jan. 5, 2018).

         B. Serota’s Testimony Is Relevant

         Relevant expert testimony simply must appear helpful to the trier of fact. SMD Software,

  Inc. v. EMove, Inc., 945 F. Supp. 2d 628, 635 (E.D.N.C. 2013). “‘Testimony from an expert is

  presumed to be helpful unless it concerns matters within the everyday knowledge and experience

  of a lay juror.’” Id. (quoting Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir. 1993)).

         As noted above, this case involves ERISA’s requirement that JSAs be “actuarially

  equivalent” to the SLA participants could have selected, which “means that the present values of

  the benefits received and benefits under a single life annuity are ‘equal under a given set of

  actuarial assumptions’” and the assumptions “must be ‘reasonable.’” Order, ECF No. 73, at 3

  (quoting Stephens, 644 F.3d at 440 and 26 C.F.R. §§ 1.401(a)-11(b)(2) and 1.411(d)-3(g)(1)).

  Serota’s testimony directly addresses the reasonableness of the Plan’s actuarial assumptions.

  Moreover, it addresses whether Class Members’ benefits calculated using the Plan’s assumptions

  are lower than they would be if reasonable actuarial assumptions were used. These issues are not

  within the everyday knowledge and experience of non-actuaries. See, e.g., Osberg v. Foot Locker,

  Inc., 138 F. Supp. 3d 517, 540 (S.D.N.Y. 2015) (relying on expert testimony from actuaries to

  determine if a plan sponsor violated ERISA) aff’d by 862 F.3d 198 (2d Cir. 2017) (finding it would



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  take “a heroic chain of deductions to expect the average plan participant” to understand the

  applicable actuarial issues with their pension plan); Laurenzano v. Blue Cross & Blue Shield of

  Massachusetts, Inc. Ret. Income Tr., 134 F. Supp. 2d 189, 197 (D. Mass. 2001) (testimony from

  experts would be helpful if the case were to require “complex, present value calculations”). Expert

  testimony is appropriate where “[t]he nature of the problem is one that the Court is obviously ill-

  equipped to handle without expert actuarial assistance.” Golsen v. Comm'r of Internal Revenue, 54

  T.C. 742, 753 (1970), aff'd sub nom. Golsen v. Comm'r, 445 F.2d 985 (10th Cir. 1971).

          Defendants argue that Serota “fails to opine on the central issue in this case — whether the

  plan’s conversion factor is unreasonable and, if so, when it became unreasonable.” Def. Br. at 13.

  Defendants cite no authority for the proposition that expert testimony should be excluded unless it

  is directed to what a defendant argues is the “central issue” of a case, and Plaintiff is not aware of

  any. The test is whether the evidence is “helpful,” not whether it is “dispositive.” Emami v.

  Bolden, No. 2:15-cv-34, 2016 WL 8232235, at *5 (E.D. Va. Dec. 20, 2016) (testimony satisfies

  “helpfulness” if it assists the trier of fact in understanding highly technical requirements), report

  and recommendation adopted, 241 F. Supp. 3d 673 (E.D. Va. 2017).

          Moreover, contrary to Defendants’ argument, the assumptions are the central issue in the

  case. The Plan does not dictate the “conversion factors,” it sets the actuarial assumptions, and, in

  particular, the grossly outdated 1971 GAM mortality table. As the Court has already held, those

  assumptions (not the resulting conversion factor) must be “reasonable” (Order, ECF No. 73, at 3)

  and Serota opines that they are not. Serota Am. Rep., at 23–25. Thus, Serota’s testimony is

  directly related to the key issue in this case.

          Second, even if the focus was the reasonableness of the Plan’s “conversion factors,” which

  it is not, Serota testified that the only way to assess this issue is to look at the actuarial assumptions



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  used to generate the factors. Serota Tr. a 111:22–112:7. A conversion factor is simply the

  numerical result of a mathematical calculation that uses as inputs both the retiree’s relevant data

  (e.g., retiree’s age, beneficiaries’ age, benefit option selected) and the plan’s actuarial assumptions

  (mortality and interest rate assumptions). A conversion factor cannot be reasonable in the abstract

  – it is a number produced by a calculation that is 100 percent driven by the inputs. The “GIGO”

  (garbage in, garbage out) principle applies, particularly with a 50-year-old mortality table.

  Accordingly, the reasonableness of the conversion factor can only be determined by comparison

  to a conversion factor that is calculated using reasonable actuarial assumptions.1

         Even Defendants’ expert, Thomas Terry, compared the benefits that Class Members were

  receiving to what they would have received if the Plan’s conversion factors had been based on

  reasonable actuarial assumptions. Terry Decl., ¶¶ 143-157. At his deposition, Terry tried to avoid

  answering the question of whether it would be appropriate to use unreasonable actuarial

  assumptions, so long as the product of the assumptions was a “reasonable” conversion factor —

  an effort that consumes 12 pages of transcript. Terry Tr. at 68:13–80:14. In the end, Terry

  admitted that he would not do so, but would instead develop his own reasonable mortality and

  interest rate assumptions, based on current economic and demographic conditions, in order to

  develop a reasonable conversion factor. Id. at 79:9–80:1. Thus, both experts agree that the



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    Defendants are equally wrong about the relevance of the date on which the conversion factors,
  or the actuarial assumptions that produce them, became unreasonable. Plaintiff alleges that they
  were unreasonable throughout the Class Period, and Serota’s declaration supports that allegation;
  nothing more is required. Smith v. Rockwell Automation, Inc., No. 19-cv-505, 2020 WL 620221,
  at *7 (E.D. Wis. Feb. 10, 2020) (“Rockwell”) (“At any given time, a plan participant will have the
  option to commence a lawsuit alleging that a fixed standard has become outdated, and then a court
  will determine whether the standard is actuarially reasonable.”).




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  reasonableness of the Plan’s conversion factors can only be assessed by focusing on the

  reasonableness of the actuarial assumptions used to generate those factors.

         C. Serota’s Testimony Is Reliable

         “To be reliable, testimony must be based upon sufficient facts or data, and be the product

  of reliable principles and methods applied to the facts of the case.” Emami, 2016 WL 8232235, at

  *5 (citing Fed. R. Evid. 702 (b)-(d)). Defendants’ challenges to the reliability of Serota’s opinions

  at best amount to a disagreement between experts. None merit exclusion.

                 1. Serota’s Methodology Is Consistent

         Serota has consistently testified that (a) Defendants’ use of the 1971 GAM was

  unreasonable; and (b) Class Members’ benefits are lower than they would be if Defendants had

  used reasonable actuarial assumptions. To support the latter opinion, Serota used Defendants’

  data, which showed the benefits calculations for each Class Member. He then examined how Class

  Members’ benefits changed if reasonable actuarial assumptions were used instead of the Plan’s.

  Serota corrected certain errors in inputs to the original model before his deposition, and he

  prepared a supplemental report to address new information he received during his deposition.

  These changes were entirely proper and non-prejudicial. None of the adjustments that Serota made

  to the model’s inputs changed his methodology, and while the adjustments necessarily changed

  the amount of damages that the Class suffered, none changed the fact of damages.

                         a. Serota Properly Corrected Inputs Prior to His Deposition

         Defendants make much of the fact that Serota corrected some of the model’s inputs in his

  Amended Report. Def. Br. at 1, 3–4 and 9–10. In fact, however, there were only a few changes,

  none of which affected Serota’s methodology.           Specifically, in his initial Report, Serota

  inadvertently used an incorrect male/female ratio of Plan participants, cut off the mortality table

  for beneficiaries at the retiree’s age 120, and included certain individuals who began receiving
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  benefits prior to the beginning of the Class Period. Id. When Serota realized these problems, he

  fixed them and submitted an Amended Report. Defendants were not prejudiced by this; the

  amendment came well in advance of Serota’s deposition. Courts have permitted corrections like

  this, even when made later in the discovery process:

             Daubert does not require that an expert's testimony be excluded simply
             because he admitted and corrected his own mistakes. . . . In fact, one of the
             very purposes of a Daubert hearing . . . is to give experts a chance to explain
             and even correct errors that they made in their reports. . . . There is no
             stigma attached to such error correction, nor should there be. If anything, it
             strengthens the quality of the expert report.

  United States v. Wrensford, No. 13-cv-0003, 2014 WL 3715036, at *16 (D.V.I. July 28, 2014)

  (quoting I.B.E.W. Local Union 380 Pension Fund v. Buck Consultants, 2008 WL 2265269, at *2

  (E.D. Pa. June 3, 2008)); see also Kaleta v. City of Anna Maria, No. 8:16-cv-347, 2017 WL

  6261526, at *1 (M.D. Fla. Oct. 6, 2017) (plaintiff properly amended report to correct calculation

  errors); Moore v. Deer Valley Trucking, Inc., No. 4:13-cv-00046, 2014 WL 4956241, at *2 (D.

  Idaho Oct. 2, 2014) (a rebuttal report that corrected an error in calculation did not amount to a

  change in methodology); Crowley v. Chait, No. CIV.85-2441(HAA), 2004 WL 5434953, at *11

  (D.N.J. Aug. 25, 2004) (corrections and updated figures did not amount to a change in

  methodology), aff'd sub nom. Thabault v. Chait, 541 F.3d 512 (3d Cir. 2008); Law Debenture Tr.

  Co. of New York v. WMC Mortg., LLC, No. 3:12-cv-1538, 2015 WL 13636425, at *1–2 (D. Conn.

  Aug. 11, 2015) (even extensive corrections to report not problematic so long as opposing party

  had an opportunity to depose the expert following the submission of the corrections); Enplas

  Display Device Corp. v. Seoul Semiconductor Co., Ltd., No. 13-cv-05038 , 2015 WL 13037241,

  at *1 (N.D. Cal. Dec. 21, 2015) (same).




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                         b. Serota Changed His Male-to-Female Ratio Assumption Based on
                            New Information Defendants Did Not Provide Prior to the
                            Deposition

          Throughout the Class Period, the Plan calculated actuarially equivalence using the 1971

  GAM mortality table, blended 90 percent male and 10 percent female for retirees, with a 6 percent

  interest rate. Serota Am. Rep. at 26. Serota consistently testified that it would have been reasonable

  for Defendants to use the same mortality table they were required to use for calculation of lump-

  sum benefits (i.e. the Applicable Mortality Table). Id. Defendants argue, however, that Serota

  “changed his theory entirely” by applying a different male-to-female ratio to the Applicable

  Mortality Table. Def. Br. at 5. They then repeatedly contend that this is a fundamental error

  justifying exclusion. Def. Br. at 1, 5–6, 7–9. Defendants’ bad argument is not improved by

  repetition.

          As even Defendants’ expert acknowledged, mortality tables used to calculate benefits must

  be unisex — a plan cannot use a male mortality table for male retirees and a female mortality table

  for female retirees. Terry Rep. at ¶ 10. The Applicable Mortality Table is a unisex table that

  assumes equal numbers of males and females (i.e., it is blended 50/50). Serota Am. Rep. at 26.

  Serota explained, however, that “the IRS permits a plan sponsor to modify a mortality table to

  incorporate its specific demographic circumstances.” Id. Thus, Serota acknowledged that it would

  be possible to use a different male/female blend if there was data to support it. Id. He found no

  data supporting the Plan’s use of a 90/10 ratio; however, Defendants produced an Ernst & Young

  study that indicated that, based on “annuitant participant data” for the period from 2008–2014, the

  ratio of male-to-female participants in all of HII’s union plans (one of which is the Plan) was 71/29,

  which Serota reviewed after he served his initial report. Serota Suppl. Rep., ¶ 4 (citing HII Defined

  Benefit Plans, Experience Study Compilation, HII-0000011551, at 11602-03). Because there was

  at least some evidentiary support for the 71/29 blend, and because that ratio was more favorable
                                                   11
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  to HII than the default 50/50 blend, Serota gave HII the benefit of the doubt and used the 71/29

  blend in his calculations in the Amended and Rebuttal Reports. Id.; see also Serota Am. Rep., at

  26; Serota Reb. Rep., ¶ 37.

         After reviewing Serota’s Amended and Rebuttal Reports, Defendants’ counsel obtained a

  “clarification” from Ernst & Young concerning the document that Serota relied upon. In an e-mail

  to Defendants’ counsel dated January 9, 2020, Ernst & Young indicated that the 71/29 male-to-

  female ratio was based on both retirees and beneficiaries, but acknowledged that the original

  document “does not explicitly indicate this.” Kindall Decl., Exh. C, ECF No. 65-3. This is an

  understatement, since the Ernst & Young study expressly indicates the opposite, describing the

  demographic data as being based on “annuitant participant data.” Although they received this

  email five days earlier, Defendants disclosed it to Plaintiffs for the first time in the middle of

  Serota’s January 14, 2020 deposition. Serota Tr. at 84. Once he reviewed this new information,

  Serota agreed that the 71/29 male-to-female blend was less appropriate. Accordingly, Serota

  produced a Supplemental Report that used an 86/14 blend, based solely on the data in the

  experience study that was related to participants according to the email Defendants withheld prior

  to Serota’s deposition. In the Supplemental Report, Serota provided updated figures for the

  calculations in the Amended and Rebuttal Reports, using exactly the same methodology, but

  substituting an 86/14 blend for the 71/29 blend that he previously used.

         Serota’s Supplemental Report was entirely proper, and Defendants do not argue to the

  contrary. Rule 26(e)(2) provides that experts have a duty to supplement their reports to add

  additional or corrective information. Kinlaw v. Nwaokocha, No. 3:17-cv-772, 2019 WL 2288445,

  at *2 (E.D. Va. May 29, 2019); Enplas Display, 2015 WL 13037241, at *1 (“Rule 26(e)(2) clearly

  envisions the possibility that an error could be made in an expert report that would come to light



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  only after the expert's deposition”). Here, where Defendants sandbagged Serota with new

  information at his deposition – an e-mail Defendants had not produced that was contrary to

  information in a report they had produced – they can scarcely complain that Serota prepared a

  Supplemental Report to account for this new information. To the extent that the supplementation

  creates a “moving target,” Defendants have only themselves to blame.

                 2. Serota’s Choice of Mortality Table Was Correct

         For each year during the Class Period, Serota’s model uses the mortality table that the IRS

  designated the Applicable Mortality Table for use in calculating lump-sum benefits, and he

  explains his rationale for making that selection. Serota Am. Rep., at 21–22 and 27–28. HII used

  this same table to calculate benefits for Plan participants who elect to receive their benefits as a

  lump-sum and in its disclosures to Plan participants concerning the “relative value” of each

  available benefit option, including the JSAs that each Class Member selected – disclosures which

  are required to be based on “reasonable assumptions.” Serota Reb. Rep. at ¶ 21; see also 26 C.F.R.

  § 1.417(a)(3)-1(c)(2)(iv).

         Yet Defendants argue, illogically, that Serota’s decision to use the Applicable Mortality

  Table was so unreasonable that his opinion should be excluded. Defendants’ arguments directly

  contradict what they told Class Members and raise significant issues concerning HII’s fiduciary

  duty to disclose accurate information to participants. For purposes of this motion, at most, they

  amount to a disagreement among experts, which is not proper grounds for a Daubert motion.

  Argonaut Ins. Co. v. Samsung Heavy Indus. Co., 929 F. Supp. 2d 159, 169–70 (N.D.N.Y. 2013)

  (“The fact that [one expert’s] opinion (or any expert opinion) is contradicted by other experts is

  not a basis to exclude his opinion”); In re Laurel Valley Oil Co., No. 05-cv-64330, 2015 WL

  4555579, at *4 (Bankr. N.D. Ohio July 28, 2015) (“disagreement among experts as to the



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  appropriateness of an assumption does not render an expert opinion inadmissible”); Swierczynski

  v. Arnold Foods Co., 265 F. Supp. 2d 802, 809–10 (E.D. Mich. 2003) (disagreements between

  experts concerning discount rate assumptions went to weight, not admissibility); Abarca v.

  Franklin Cty. Water Dist., 761 F. Supp. 2d 1007, 1038 (E.D. Cal. 2011) (disagreements between

  experts goes to weight, not admissibility); Samaan v. St. Joseph Hosp., 744 F. Supp. 2d 367, 372

  (D. Me. 2010) (same).

                          a. Even Defendants’ Expert Agreed that Using the GAAP Table Was
                             Improper

         Defendants argue that Serota should have used “the mortality table used by the Plan for

  purposes of its financial statements (the “GAAP Table”) because Serota supposedly opined that it

  represented the Plan actuary’s ‘best estimate.’” Def. Br. at 5. This argument is nonsensical. Not

  only did Serota explain in his report why he did not use the GAAP table (Serota Am. Rep. at 19-

  22), Defendants’ own expert agreed with him, stating that it would not be appropriate for the Plan

  to incorporate the GAAP table. Terry Decl. ¶¶ 102–03. There is no disagreement on this issue.

         Moreover, Defendants misstate Serota’s analysis. Serota stated that in preparing audited

  annual financial statements, companies must value their pension liabilities using GAAP and

  Accounting Standard ASC 715-30, which require using the plan actuary’s “best estimate” of

  mortality tables each separate year. Serota Am. Rep. at 19. Thus, for example, HII used a 2013

  IRS mortality table for its audited financial reports for the 2012 10-k Report. Kindall Decl. Exh.

  B, ECF No. 65-2. Defendants wrongly suggest, based on absolutely nothing in Serota’s model or

  report, that the “best estimate” GAAP report referenced at page 19 of Serota’s Report was a

  reference to the mortality table developed by Ernst & Young in 2017, which HII could not have

  used for any of its annual financial reports prior to the FY 2017 10-k Report (which would have




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  been filed in 2018).2 Defendants do not explain how HII could have used this table to calculate

  the majority of Class Member benefits, because it would have been impossible.3

                          b. Serota’s Selection of an 86/14 Male-to-Female Blend Was
                             Appropriate

           Defendants next fault Serota for applying an 86/14 male-to-female blend to the Applicable

  Mortality Table. Def. Br. at 8. Serota explained his rationale in his Supplemental Report: it was

  based on new information that the population of retirees taking benefits was approximately 86

  percent male. Serota Suppl. Rep. at 6–7. Defendants now claim that Serota erred in using the

  inverse ratio (14 percent male/86 percent female) for the beneficiary population. Def. Br. at 8.

  However, Defendants provide no authority (e.g., an ASOP, study, etc.) for this argument. They

  don’t even provide an example. This may be because Defendants themselves have consistently

  used the inverse blend for the beneficiary table (90/10 and 10/90),4 and Defendants’ expert

  likewise used a beneficiary mortality table gender blend that was the simple inverse of the retiree

  blend. Terry Decl. ¶ 148–149; see also Terry Tr. at 193:17–20 (if the percentage of male retirees

  goes up, the percentage of female beneficiaries goes up). If Serota is wrong, so are Defendants and

  their expert. In fact, what’s wrong is the idea that you shouldn’t use a gender blend for the

  beneficiary table that is the inverse of the blend in the retiree table.



  2
    See Def. Br. at 5. Defendants’ brief on this point is deliberately opaque. They suggest there is
  only one “GAAP Table” — which is directly contrary to the Serota testimony they are relying on
  — and they only identify that GAAP Table by reference to the Terry Declaration. Id. They do
  not tell the Court that the GAAP Table Terry describes is the one that was developed by Ernst &
  Young in 2017 (See Terry Decl. at para. 173). Indeed, Terry’s entire analysis is flawed because it
  is based on a mortality table that did not even exist during most of the Class Period.
  3
    Defendants repeat the same argument later in their brief (Def. Br. at 13), but don’t really add
  anything to it. They claim that Serota should have modified Defendants’ GAAP mortality tables
  to make them unisex but fail to explain why he should have done so when their own expert agreed
  that it would be improper to use the GAAP tables.
  4
      See ECF No. 54-5, at HII-0000001219.

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           Defendants also argue that Serota should have used a male/female blend that only reflected

  the demographics of participants who selected JSAs, rather than the demographics of Plan retirees.

  Def. Br. at 6. Defendants argue that the former approach, employed by their expert, is supported

  by guidance from the “Gray Book.” Id. at 6–7. Defendants ignore several significant problems

  with their argument, which might explain why they did not attach the relevant pages of the Gray

  Book. First, the Gray Book states on every page that it is just a summary of responses to questions

  by “certain staff members of the Treasury and IRS, which represents only the personal views of

  the individuals who provided them.” See Declaration of Douglas P. Needham (“Needham Decl.,”)

  in Support of Plaintiff’s Opposition to Defendants’ Motion to Exclude the Expert Testimony of

  Mitchell I. Serota, filed herewith, at Exh. A.

           The Gray Book does not contain the official position of the Treasury Department, the IRS

  or of any other governmental agency. See Lightfoot v. Arkema, Inc. Ret. Benefits Plan, No. 12-cv-

  773, 2013 WL 3283951, at *11 (D.N.J. June 27, 2013). Moreover, after 2015, the IRS discontinued

  the Gray Book “because of government concerns surrounding reliance upon responses in the Gray

  Book.”5 In other words, the Gray Book is unreliable. Even if it were reliable, which it is not, the

  Gray Book excerpt in question is ambiguous concerning the facts, assumptions and scenarios upon

  which it was based, and presents a conclusory summary without analysis that endorses both Terry’s

  approach (using the population expected to elect and particular option) and Serota’s approach

  (reflecting the plan population). See Needham Declaration, Exh. A. At most, the Gray Book

  excerpt points to disagreements between actuaries, which are not grounds for exclusion of

  testimony under Daubert. Sec. & Exch. Comm'n v. Life Partners Holdings, Inc., No. 1-12-cv-

  00033-JRN, 2013 WL 12076554, at *2 (W.D. Tex. Nov. 5, 2013) (“Life Partners”).



  5
      See https://www.ccactuaries.org/archives/meeting-materials (last accessed on March 21, 2020).
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         Of greater importance, while Defendants trumpet Serota’s “admission” that he might

  reconsider his view that Terry’s approach was flawed based on the Gray Book (Def. Br. at 7), they

  fail to mention that, upon reconsideration, Serota ultimately stood by his original view. The

  regulations provide that a QJSA must be “at least the actuarial equivalent” of the normal form and

  any optional form of benefit under the plan. Serota explained that where, as here, more male

  employees selected the JSA option and more female employees selected a different option, basing

  the gender blend assumption on the population that is likely to take each particular benefit type

  would make the present value of the QJSA less than the present value of the other benefit form,

  in violation of the law.6 Serota Tr. at 156:21–158:14. Therefore, on reconsideration, Serota

  essentially reaffirmed that Terry’s analysis would be invalid. 7

         The regulations also specify that equivalence must be “determined on the basis of

  consistently applied reasonable actuarial factors.” 26 C.F.R. § 1.401-11(b)(2); see also 26 C.F.R.

  § 1.401(a)(4)-12 (an amount or benefit is actuarially equivalent to another amount or benefit “if

  the actuarial present value of the two amounts or benefits (calculated using the same actuarial

  assumptions) at that time is the same”). The law thus expressly requires that a JSA’s value must

  be compared to the value of an SLA or a certain and life annuity using the same mortality tables

  for each compared benefit, not different tables for each benefit depending on the demographic

  make-up of the population that might select one benefit type over another. Because Terry’s



  6
   If, as Terry testified, 86 percent of all retirees in the Plan were male but 95 percent of retirees
  who took a JSA were male, it necessarily follows that the population of those who selected non-
  JSA options must have been less than 86 percent male.
  7
    When confronted with this flaw in his analysis at his deposition, Terry admitted that he had not
  considered it before and could not speculate about the impact of the QJSA requirements. Terry
  Tr. at 192 – 196. If anyone’s testimony on the proper gender mix should be excluded, therefore,
  it is Terry’s, not Serota’s, since Terry had not considered whether the 95/5 male-to-female retiree
  blend complied with ERISA’s QJSA regulations.

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  approach necessarily compares benefit types using different mortality tables (that is, mortality

  tables tailored to the gender make-up of retirees who are most likely to take that particular benefit),

  it does not comply with ERISA for this reason as well. The ambiguous and conclusory analysis

  contained in a source that was discontinued and cannot be relied upon does not trump the

  requirements of federal law.

         Defendants’ reliance on Ruffin v. Shaw Indus., 149 F.3d 294 (4th Cir. 1998) and Marsh v.

  W.R. Grace & Co., 80 Fed. App’x 883 (4th Cir. 2003) is misplaced, as both cases involved

  scientific studies. As the Fourth Circuit has recognized, “there exist meaningful differences in

  how reliability must be examined with respect to expert testimony that is primarily experiential in

  nature as opposed to scientific.” United States v. Wilson, 484 F.3d 267, 274 (4th Cir. 2007). Peer

  reviewed studies or publications supporting an experiential expert are not critical in the context of

  an experiential expert. In re Minh Vu, No. 12-cv-3184, 2013 WL 4804822, at *11 (D. Md. Sept.

  6, 2013), aff'd sub nom. Minh Vu Hoang v. Rosen, 556 F. App'x 262 (4th Cir. 2014). A recent

  opinion from the District of Maryland is instructive:

             Limparis’s opinion is based on her experience as an accountant and on
             mathematical calculations she derived from data that is available to Balbed.
             Her opinion is not based on a scientific theory that could be tested, subjected
             to peer review, or considered to have a known or potential rate of error.
             There is nothing mysterious about Limparis’s opinion that will prevent
             Balbed from challenging it.

  Balbed v. Eden Park Guest House, LLC, No. 16-cv-0193, 2019 WL 3717582, at *4 (D. Md. Aug.

  7, 2019). Similarly, Serota’s testimony is based on his experience as an actuary; it does not depend

  on peer reviewed studies, nor is there anything mysterious about it. Serota testified at length as to

  his basis for disagreeing with Terry and with the actuaries whose opinion is summarized in the




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  Gray Book. Defendants are certainly welcome to cross-examine Serota on those disagreements,

  but they do not justify exclusion of his opinions.8

                          c. Serota Used the Same Mortality Table Defendants Use for their
                             Relative Value Disclosures

          Defendants finally argue that Serota should have used a blue-collar mortality table rather

  than the Applicable Mortality Table. Def. Br. at 8-9. However, HII uses the Applicable Mortality

  Table, and not a blue-collar table, as the basis for its relative value disclosures to Plan participants.

  Serota Reb. Rep. at ¶ 21. While the relative value calculations need not use the same actuarial

  assumptions as the Plan, the assumptions must still be reasonable. 26 C.F.R. § 1.417(a)(3)-

  1(c)(2)(iv)(B). Accordingly, the Plan clearly determined that the Applicable Mortality Table was

  a reasonable actuarial assumption, and the Court should reject Defendants’ post-hoc contrary

  argument as the basis for a Daubert motion.9

                  3. Defendants’ Overblown Claims of Error

          Defendants point to a number of what they call “mistakes” in Serota’s Report and repeat

  them over and over in an attempt to create an impression of untrustworthiness. Many of the




  8
    Defendants’ own expert also based his opinions on his experience. See, e.g., Terry Tr. at 218:19–
  220:20 (testifying on redirect from Defendants’ counsel that his opinion concerning the propriety
  of picking an interest rate that was roughly in the middle of a range was based on his “professional
  judgment;” he was unaware of any publication supporting his view, which did not concern him).
  9
    As Serota noted in his Rebuttal Declaration, the blue-collar adjustment to the RP-2014 table did
  not come out until October of 2014, and HII did not adopt it for accounting purposes until later in
  that year. Serota Reb. Rep. at para. 22. Accordingly, it could not have been used to calculate
  benefits until 2015, well into the Class Period. And, as noted, HII never adopted it for its relative
  value disclosures, opting instead to provide retirees with information based on the Applicable
  Mortality Table with no blue-collar adjustment. Nonetheless, Serota ran an alternative calculation
  using the blue-collar table beginning in 2015 and determined all class members would still have
  received higher benefits than they did using the Plan’s outdated assumptions. Id. at ¶¶ 23 and 53–
  55.

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  supposed “errors” amount to differences of opinion between the experts. The rest are minor

  mistakes that do not – either alone or together – merit exclusion.

         As noted above, Serota did amend his original report before his deposition to correct certain

  errors in the inputs to his model. And, as discussed above, courts have consistently held that such

  corrections are entirely proper and do not merit exclusion of testimony. See supra pp. 9–10 (citing

  cases). None of the other “errors,” real or imagined, warrant exclusion either.

                         a. Defendants’ Arguments Concerning Best Practices Misconstrue
                            Serota’s Testimony

         Defendants’ arguments concerning “best practices” are without merit. Serota’s Report uses

  the phrase “the best practice,” but also indicates that multiple actuarial assumptions might be

  considered “reasonable.” See, e.g., Serota Am. Rep. at 26 (stating that use of the Applicable

  Mortality Table and the discount rate from the preceding year’s ASC 715-30 report would be “a

  reasonable approach,” and one that makes more sense than using the discount rate from the 10-k

  Report); see also id. at 19–22 (discussing generally different interest rate and mortality table

  assumptions that might be reasonable). At his deposition, Serota clarified that he did not mean to

  suggest that there was a single “best practice” that would dictate a specific choice.

         Defendants attempt to manufacture an error where none exists by pointing to a supposed

  discrepancy in page 22 of Serota’s original and amended complaints concerning best practices in

  selecting a mortality table. In fact, page 22 of Serota’s original and amended reports are identical.

  That is because Serota’s “best practice” statement was directed at use of the Applicable Mortality

  Table itself, and he used the Applicable Mortality Table in both his initial report and his Amended

  Report. The “best practice” discussion Defendants reference did not address when it is appropriate

  for a sponsor to use a different male/female blend than the Applicable Mortality Table. Serota

  explained this different issue later in his Amended Report: “For a mortality table, a reasonable


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  approach would call for the Applicable Mortality Table. The Applicable Mortality Table uses

  50% male lives and 50% female lives. However, the IRS permits a plan sponsor to modify a

  mortality table to incorporate its specific demographic circumstances.” Serota Am. Rep., at 26.

  There is nothing inconsistent in the testimony. Using the Applicable Mortality Table ensures the

  assumptions are updated regularly to take into account the most recent information on life

  expectancy. Modifying the 50/50 male-to-female ratio to account for plan-specific demographic

  information is appropriate where good data exist.

         Defendants next mischaracterize Serota’s testimony concerning best practices with respect

  to interest rates. In his initial report and his Amended Report, Serota stated that the interest rate

  that a company uses to value plan liabilities for its most recent audited financial statements

  represented the company’s best estimate of a reasonable interest rate. Serota Rep., at 21; Serota

  Am. Rep. at 21. He further stated that using this recent, up-to-date interest rate to calculate

  actuarial equivalence for the following year would be a best practice. Serota Rep., at 22; Serota

  Am. Rep. at 22. Nowhere does Serota suggest that it would be appropriate to adopt a plan provision

  prospectively incorporating future GAAP accounting determinations. Yet, that is what Defendants

  asked him about at his deposition where, unsurprisingly, he testified that he was not aware of any

  plans that adopted such a practice.10 Defendants’ attempt to “spin” this testimony into a mistake

  should be rejected.



  10
    Serota Tr. at 130:21–131:4 (responding “no” to the question, “are you aware of any pension
  plans that actually use the GAAP interest rate as a plan provision — in other words, the plan says
  that actuarial equivalence will be calculated according to the company’s GAAP interest rate?”)
  (emphasis added). The focus of Serota’s damages analysis was on how the benefits class members
  are receiving compare to what they would be receiving if Defendants had used actuarial
  assumptions that were reasonable on the date that their benefits were calculated — not on the
  mechanism that Defendants could have used to incorporate up-to-date assumptions. As a matter
  of law, Defendants could have complied with ERISA’s actuarial equivalence requirement by
  adopting variable standards that update automatically (such as an external index for interest rates
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                         b. Serota’s Testimony Concerning Annual Updates Is Correct

         Defendants suggest that Serota’s testimony was inconsistent on the frequency of updates.

  Def. Br. at 11. It was not. Contrary to Defendants’ assertion, Serota’s “entire methodology” is

  not “premised on the idea that the Steelworkers Plan’s mortality tables must be updated every

  year.” Id. Again, Defendants misconstrue Plaintiff’s claim and Serota’s testimony. Liability does

  not turn on how often the Plan should have updated its actuarial assumptions. It is undisputed that

  Defendants’ actuarial assumptions remained static for over 40 years and were never updated at

  any point during the Class Period. Serota’s testimony that these assumptions were unreasonable

  throughout the Class Period was not contested by Defendants’ expert.

         To establish injury and damages, Plaintiff had to compare the benefits that resulted from

  use of the unreasonable actuarial assumptions to benefits that would have resulted from use of

  reasonable assumptions. For each Class Member, the answer depends on the actuarial assumptions

  that would have been reasonable when their benefits commenced. “At any given time, a plan

  participant will have the option to commence a lawsuit alleging that a fixed standard has become

  outdated, and then a court will determine whether the standard is actuarially reasonable.” Smith v.

  Rockwell, 2020 WL 620221, at *7. Thus, it would not have been appropriate for Serota to simply




  and the Treasury Department’s Applicable Mortality Table), or by adopting fixed standards that
  have to be updated when they cease to be reasonable. Rockwell, 2020 WL 620221, at *7. Serota’s
  Amended Declaration and his Rebuttal Declaration (as amended by his Supplemental Declaration)
  describe both of these approaches. Serota testified that it would have been reasonable for HII to
  use the most recent interest rate it calculated for its plan liabilities for each year — for example,
  4.19 percent at the close of the 2012 calendar year. Serota Am. Rep. at 24–25 and 27. That could
  have been accomplished by an annual Plan amendment that substituted the new interest rate for
  the prior year’s rate. In the alternative, Serota testified that the Company could have amended the
  Plan to use a third-party index, such as the Mercer Above Mean Index, that closely tracked the
  interest rates the Company used in its 715-30 Reports. Serota Reb. Rep. at 16–17. Neither
  approach suggests that the Plan should prospectively incorporate future GAAP accounting
  determinations in the manner suggested by Defendants’ deposition question.

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  choose an interest rate or mortality table that was reasonable at some point during the Class Period

  — which is what Defendants’ expert improperly attempted to do — and then apply it to the entire

  period.11 Instead, Serota evaluated what actuarial assumptions would have been reasonable for

  each year during the Class Period, and incorporated annual changes in interest rates and mortality

  tables into his model to improve accuracy. There was no error in Serota’s approach.

         Defendants questioned Serota at his deposition about how frequently plans should update

  actuarial assumptions. He answered the questions, but as discussed above, the answers are not

  relevant to either liability or damages. As the Rockwell court rightly noted, how often plans should

  revisit their assumptions depends on the totality of the circumstances, including such factors as the

  volatility of interest rates. Id. Serota testified in his deposition that frequency might also depend

  on the size of a plan, since “small plans might not even have any people retiring on an annual

  basis.” Serota Tr. at 56.12 The Plan, on the other hand, was large, with hundreds of participants

  retiring each year, thus Serota’s testimony was entirely consistent. In any event, “[i]f a plan prefers

  to avoid the risk of having the reasonableness of its actuarial assumptions determined through

  case-by-case litigation, it should either review its assumptions frequently or choose a variable

  standard.” Smith v. Rockwell, 2020 WL 620221, at * 7.

                         c. Serota’s Statements Are Not Inaccurate Or Misleading

         Defendants fault Serota’s statement that the 1971 GAM “is not approved by the IRS as an

  appropriate mortality assumption for determining liabilities under ERISA,” not because the



  11
    This critical flaw in the methodology employed by Defendants’ expert is the subject of Plaintiff’s
  pending motion to exclude portions of Terry’s testimony.
  12
     For example, as Defendants note in a throwaway line at the end of their brief, the retirement
  plan for Serota’s own firm uses a 1994 mortality table. Def. Br. at 15. But Defendants fail to note
  that, as Serota testified, there are only three participants in his company’s plan and none of them
  have ever retired. Serota Tr. at 161:1–9.

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  statement is inaccurate — Defendants concede that it is correct — but because Defendants allege

  that the “obvious purpose” of the statement was to nefariously mislead the Court. Def. Br. at 11–

  12. This is complete nonsense, as a simple review of the quote demonstrates:

             The 1971 Group Annuity Mortality table, published in 1971, was based on
             the mortality experience of group insurance and four large deferred annuity
             contracts during the years from 1964 to 1968. The use of the GAM 71 table
             is not approved by the Internal Revenue Service as an appropriate mortality
             assumption for determining liabilities under ERISA. Nor is it approved
             by the AICPA as an appropriate mortality assumption for disclosing
             pension liabilities under ASC 715-30. In fact, the GAM 71 table has not
             been used for ERISA funding or accounting purposes for years. That the
             GAM 71 is antiquated is not a source of debate. Use of the GAM 71 table
             to compute actuarial equivalence distorts the actuarial value of the optional
             form of benefit being calculated. A reasonable table will generate benefits
             that are greater for the Plan’s JSA options.

  Serota Am. Rep. at 23–24 (emphasis added). The paragraph’s first sentence states when the 1971

  GAM was published and the data on which it was based. The second, third and fourth sentences

  describe areas where use of the 1971 GAM is no longer approved. Serota was very clear that the

  IRS did not approve of using the 1971 GAM for “determining liabilities,” and AICPA did not

  approve of using the table “for disclosing pension liabilities.” To the extent that there was any

  doubt as to his meaning, Serota summarized by saying that the 1971 GAM had not been used for

  ERISA funding or accounting purposes for years. The “obvious purpose” of these statements is

  not, as Defendants suggest, to “confuse the Court into thinking that the IRS has refused to approve

  the 1971-GAM table for purposes of computing the conversion factors at issue in this litigation”

  (Def. Br. at 12), but to provide additional support for the proposition that the 1971 GAM was

  outdated. Serota was not, as Defendants suggest, forced to “admit” this under the withering cross

  examination of their counsel; he simply confirmed what he wrote in his Report:

                Q:      And when you wrote that, you were not referring to actuarial
             equivalent factors; correct?

                 A:     Oh. Not at all.

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                 Q:     You were referring to funding calculations?

                 A:     Funding. Funding calculations.

  Serota Tr. at 132:17–22. There is nothing misleading about Serota’s testimony.

         Defendants’ next argument is even weaker. They argue that Serota failed to mention that

  “his proposed table is also not approved for funding purposes.” Def. Br. at 12 (emphasis in

  original). This misses the point. As Serota’s Amended Report makes clear, the 1971 GAM is no

  longer approved for funding purposes, or for accounting purposes, because its mortality

  assumptions no longer reflect current experience. These are simply examples demonstrating

  widespread acknowledgement that the 1971 GAM is outdated.

         The Applicable Mortality Table, in contrast, is not outdated, and can be used for funding

  purposes, and Serota did not testify to the contrary. He was not asked whether the IRS approved

  the use of the Applicable Mortality Table for funding purposes; he was asked whether the IRS had

  approved the Applicable Mortality Table with a gender mix that reflected the Plan’s demographic

  experience. Serota Tr. at 132:23–133:5. As Serota explained in his reports, while the base version

  of the Applicable Mortality Table assumes a 50/50 gender mix, “[t]he IRS permits a plan sponsor

  to modify a mortality table to incorporate its specific demographic circumstances.” Serota Am.

  Rep. at 26. Because Defendants had data that would have provided a sufficient basis for such a

  modification, Serota decided it would be appropriate to “giv[e] Defendants the benefit of the

  doubt” by basing his damages calculations on plan-specific gender data, even though Defendants

  had not sought IRS approval for such a modification. Id. Thus, the reason why the IRS had not

  approved the table Serota used in his calculations for funding purposes had nothing to do with the

  table being outdated. Defendants’ argument is a non-sequitur.13


  13
    Defendants also argue that Serota’s testimony is misleading because “the IRS has approved the
  Steelworkers Plan document, which includes the 1971-GAM table, for purposes of calculating the
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                         d. The Remaining Errors Are Harmless

         Defendants do identify two uncorrected errors in Serota’s reports. Neither is sufficiently

  significant as to warrant exclusion of Serota’s opinion.

         First, Defendants note that Serota failed to update a table in his Amended Report to

  conform to changes in the data that resulted when he fixed the gender mix in the model. Def. Br.

  at 10 and Serota Am. Rep. at 11. Serota acknowledged the error in his deposition. Serota Tr. at

  121:2–122:20. But the error is irrelevant. The table simply illustrates a fact that Defendants cannot

  actually contest: that life expectancy has improved significantly since 1971. As Serota noted

  during his deposition, “[t]he fundamental concept is that life expectancy increased over the last 40

  years. . . . Whether it’s six or five [years] does not change that concept.” Serota Tr. at 123:2–9.

         The second genuine error Defendants raise involves an incorrect number in Serota’s

  Supplemental Report.      As discussed above, the Supplemental Report updated the damages

  numbers in both the Amended Report and the Rebuttal Report (which, as discussed above, tested

  alternative model inputs based on arguments advanced by Defendants and their expert), so that

  they would be based on an 86/14 male-to-female blend rather than a 71/29 blend. Unfortunately,

  Serota inadvertently used the numbers from the spreadsheet used to update the Rebuttal Report in

  the table at paragraph 9(b) showing damages for Retiree #778 rather than the corresponding



  actuarial conversion factors at issue here.” Def. Br. at 12. There is no indication in the letter that
  the IRS considered the reasonableness of the actuarial assumptions in the Plan during their tax
  compliance review. Moreover, as discussed in Plaintiff’s opposition to Defendants’ Motion for
  Summary Judgment, the IRS determination letter Defendants cite unequivocally states that “our
  favorable determination only applies to the status of your plan under the Internal Revenue Code
  and is not a determination on the effect of other federal or local statutes.” Def. Exh. K. Thus,
  the IRS letter is not a determination that the Plan complies with ERISA. A “Plan's reliance on
  [IRS] determination letters cannot shield it from liability in a suit brought by a plan participant for
  violations of ERISA.” Esden v. Bank of Boston, 229 F.3d 154, 176 (2d Cir. 2000); accord,
  McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 206 (2d Cir. 2007); Rybarczyk v. TRW, Inc.,
  235 F.3d 975, 985 (6th Cir. 2000).

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  numbers for the Amended Report (which are shown in the table at paragraph 9(d)). Importantly,

  however, Plaintiff sent Defendants Serota’s worksheets which showed how he calculated the

  updated damages numbers in the Supplemental Report on the same day that the Supplemental

  Report itself was served. Thus, Defendants have had the correct numbers and the underlying data

  all along. The “error” they accuse Serota of making is the equivalent of a typo. These are not the

  sort of errors that merit a Daubert challenge. See, e.g., Good v. Am. Water Works Co., Inc., No.

  2:14-cv-01374, 2016 WL 5441517, at *8 (S.D.W. Va. Sept. 26, 2016) (factual errors in some of

  the numbers in a report went to weight rather than admissibility; errors did not so undermine the

  reliability of an expert’s conclusions as to merit exclusion); Baltimore Aircoil Co., Inc. v. SPX

  Cooling Techs. Inc., No. 13-cv-2053, 2016 WL 4426681, at *12 (D. Md. Aug. 22, 2016) (isolated

  discrepancies in testimony did not merit exclusion), aff'd, 721 F. App'x 983 (Fed. Cir. 2018).14

  Excluding Serota’s testimony for transposing numbers would make no more sense than denying

  Defendants’ motion because their brief included incorrect record citations.15

         D. Serota Is More Than Qualified

         Defendants’ final argument — that Serota lacks “specific experience necessary to qualify

  as an expert in this case” (Def. Br. at 15) — is absurd. As the Fourth Circuit has held,

             the test for exclusion is a strict one, and the purported expert must have
             neither satisfactory knowledge, skill, experience, training nor education on
             the issue for which the opinion is proffered. One knowledgeable about a


  14
    In contrast, in the case cited by Defendants (Def. Br. at 12), EEOC V. Freeman, 778 F.3d 463,
  467–68 (4th Cir. 2015), the court noted that the experts’ corrected database failed to change
  incorrect coding, double-counted applicants and omitted hundreds of applicants. Here, in contrast,
  the database was correct, but Serota failed to properly record one of the entries in his declaration.
  15
    Of which there were a couple. For example, on page 7 of their brief, Defendants cite page 166
  of Serota’s deposition transcript for testimony that in fact appears on pages 154–55. The point is
  not that Defendants’ counsel are unprofessional; they are not. And there are almost certainly
  similar errors in this brief, despite counsel’s best efforts to root them out. Rather, the point is
  simply that these are the types of errors that are easily made, easily understood and easily fixed.

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             particular subject need not be precisely informed about all details of the
             issues raised in order to offer an opinion.

  Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir. 1993) (emphasis added). Because Serota has

  knowledge, skill, experience, training and education sufficient to support his testimony,

  Defendants’ arguments do not come close to meeting this strict test.

         Serota has been a member of the American Academy of Actuaries for forty years, and since

  1983 has been both an Enrolled Actuary and a Fellow of the Society of Actuaries. Serota Am.

  Rep., Vita. Of particular relevance to this case, he served on the Pension Committee of the

  Actuarial Standards Board from 2011–2017 (Id.), helping write ASOPs 27 and 35 which address

  how actuaries should select interest rate, mortality and mortality improvement assumptions, for

  measuring obligations under a defined benefit pension plan, including actuarial present value

  calculations. Serota Am. Rep. at 2. ASOPs are “an objective source reference” and “an objective

  body’s guidelines” for purposes of assessing reliability under Daubert. SEC v. Life Holdings, 854

  F.3d 765, 776-77 (5th Cir. 2017). Even Defendants’ own expert acknowledged that ASOPs 27

  and 35 should “inform the thinking of the actuary with respect to the development” of calculation

  of conversion factors, and they informed Terry’s thinking in selecting actuarial assumptions for

  his testimony in this case. Terry Tr. at 83:5–15 and 84:6–10.

          Since 1988, Serota has run his own actuarial consulting business, assisting business with

  pension design and planning, including the preparation of actuarial valuation reports such as the

  ASC 715-30 (the actuarial report used for GAAP accounting). Serota Am. Rep., Vita. He has also

  provided testimony before bankruptcy courts and state courts. Id.

         Despite Serota’s decades of relevant experience as a practicing actuary and member of the

  Actuarial Standards Board, Defendants claim that “his prior experience has been primarily in

  divorce cases.” Def. Br. at 15. This does not even properly characterize Serota’s testimonial


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  experience, but that is scarcely the point. Serota is a professional actuary, not a professional expert

  witness. It would be a sad day indeed if the Federal Rules were interpreted to favor hired guns

  over professionals with deep and relevant experience outside the courtroom.

         Defendants next claim that “Serota’s criticisms of the 1971-GAM are not based on any

  specific prior experience or experience with other retirement plans,” but even were that true

  (notably, Defendants provide no citation for that proposition), it is not relevant. Serota grounded

  his written opinion that the 1971 GAM was obsolete squarely on ASOP 35’s requirements that

  actuaries select reasonable actuarial assumptions and, in particular, take mortality improvements

  into account in selecting mortality assumptions. Serota Am. Rep. at 9. As noted above, Serota

  was part of the Committee that wrote ASOP 35. Since he helped to “write the book” that

  Defendants’ own expert admits is relevant to the central question in the case, he cannot be

  unqualified. Serota also explained that the 1971 GAM was based on data from the 1960s (Id. at

  23), and that more recent mortality tables “were built on statistical surveys that showed pronounced

  advancements in the longevity of the retirement-age populace.” Id. at 10. Serota further bolstered

  his opinion by indicating that the 1971 GAM was no longer approved for use for ERISA funding

  or accounting purposes. Id. at 23–24.16 These are all facts that are clearly within his expertise.

         Where, as here, an expert “explains his findings and the reasoning behind his opinion in

  detail, and . . . has the professional experience, education, and training necessary to offer an

  educated opinion,” Defendants’ criticisms should “wait until cross examination . . . .”. Life

  Partners, 2013 WL 12076554, at *4 (citing United States v. Ebron, 683 F. 3d 105, 139 (5th Cir.


  16
    Defendants’ final criticisms of Serota’s experience have been refuted above. Serota had not
  updated the actuarial assumptions in his 3-person pension plan because no one had ever retired.
  See supra n.12. And, Defendant misstates Serota’s testimony concerning best practices, since
  Serota never indicated that it would be appropriate for a plan to prospectively adopt the interest
  rates that it would employ in its GAAP accounting for future years. See supra pages 21–23.

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  2012)); see also Balbed, 2019 WL 3717582, at *3 (rejecting claim that accountant was not

  qualified to testify about a particular accounting issue if she had previous experience with that

  precise issue).17 The same result should follow here. Serota is well-qualified to testify to each of

  the opinions set forth in his reports.

                                               CONCLUSION

           For the reasons set forth above, Defendants’ Daubert motion should be denied. The Court

  should have the opportunity to consider Serota’s testimony in deciding summary judgment and at

  trial.

  Dated: March 24, 2020                         Respectfully submitted,



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  17
     The cases cited by Defendants are not to the contrary. Wehling v. Sandoz Pharm. Corp., 162
  F.3d 1158 (4th Cir. 1998) found a proposed expert was unqualified because he had no experience
  relevant to the issues of causation and negligence in the context of a drug interaction, no
  “education, training, or experience” in the treatment of patients with schizophrenia, and no
  experience in “drafting, regulation or approval of product labeling.” Id. at *4. In contrast, Serota
  has relevant education, training and experience in actuarial present value calculations, pension
  plan design and valuations, and, through his work with the Actuarial Standards Board, has helped
  to provide critical guidance to the actuarial community on issues relevant to this case. Pledger v.
  Reliance Tr. Co., No. 1:15-cv-4444, 2019 WL 4439606 (N.D. Ga. Feb. 25, 2019) involved
  proposed testimony by a sales and marketing manager on reasonableness of administrative
  expenses, where the manager’s experience was limited to creating offerings based on T. Rowe
  Price’s data and pricing model (which he did not use for his analysis in the case). Id. at *16. Here
  again, Serota’s decades of experience as a practicing actuary and a member of the Actuarial
  Standards Board are directly relevant to the issues in this case.



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                                   CERTIFICATE OF SERVICE

         I certify that on March 24, 2020, I caused a copy of the foregoing to be electronically filed

  through this Court’s CM/ECF system. I understand that notice of this filing will be sent to all

  parties by operation of the Court’s electronic filing system.



                                                        /s/ Gregory Y. Porter
                                                         Gregory Y. Porter




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